Case

[\)

\DOO--JO\Ul-LL»J

10
11
12
13
14
15
16
17
18
19
20
21
22
23
' 24
25
26
27
28

2:19-cv-01303-RSWL-.]PR Document 1 Filed 02/21/19 Page 1 of 4 Page |D #:1

Andrew L. Ellis, Esq. State Bar # 167091
Justina G. Ramon, Es . State Bar #241239
ELLIS LAW CORP RATION

2230 E. Maple Ave.

EL SEGUNDO, CA 90245

Telephone: (310) 641-3335

Attorneys for Plaintiffs
RUTH JOYA, PAMELA JOYA, STACEY JOYA
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
RUTH JOYA, individually; PAMELA JOYA, ) Case No.:

individually; STACEY JOYA, a minor by and )
through her guardian ad litem RUTH JOYA )

 

CIVIL COl\/IPLAINT FOR DAMAGES
DEMAND FOR JURY TRIAL

as Plaintiffs,

VS.

UNITED STATES OF AMERICA, a
Govemment entity; PAUL THOMAS,
individually; and DOES 1 to 50, inclusive

]. Neglz`gence

as Defendants.

 

COMES NOW plaintiffs RUTH JOYA, PAMELA JOYA and STACEY JOYA who

respectfully allege the following:
I.
GENERAL ALLEGATIONS

1. Plaintiffs RUTH JOYA, PAMELA JOYA and STACEY JOYA are and were at the
time when all wrongful tortious acts as alleged herein were committed against them, citizens of
Los Angeles, Ca.lifornia.

2. Defendant UNI'I`ED STATES OF AMERICA, by and through its agency, U.S.
DEPARTMENT OF HOMELAND SECURITY, employed or hired certain agents, servants and/or
employees, including PAUL THOMAS and DOES 1 through 10.

3. Defendant PAUL THOMAS is and was at the time when he committed all

wrongful tortious acts as alleged herein against Plaintiff, a citizen of Los Angeles, California.

 

Cc'vi[ Complaintfor Damages

 

 

Case

\DOO---]O'\Lh-l>~wl\))-

meNNN[\JNMHH:-l»-H»-a»~)-lr~ld
OO-~.lO\U\-l>~!.))[\)l-O\DOG-~]O\U|-LL»JI\Jv-O

 

2:19-cv-01303-RSWL-.]PR Document 1 Filed 02/21/19 Page 2 of 4 Page |D #:2

4. Defendants DOES 1 through 50, inclusive, are Sued herein under fictitious names.
Their true names and capacities are unknown to Plaintiffs. When their true names and capacities
are ascertained, Plaintiffs Will amend this complaint by inserting their true names and capacities
Plaintiffs are informed and believe and thereon allege that each of the fictitiously named
defendants is responsible in some manner for the occurrences herein alleged, and that Plaintiffs’
damages Were proximately caused by those Defendants. Each reference in this complaint to
“Defendant,” “Defendants,” or a specifically named Defendant refers to all named Defendants and
those sued under fictitious names.

5. Plaintiffs are informed and believe and thereon allege that at all times material
hereto and mentioned herein, each Defendant sued herein was the agent, Servant, employer, joint
venturer, partner, owner, subsidiary, alias, and/or alter ego of each of the remaining Defendants
and was, at all times, acting within the purpose and scope of such employment, agency, servitude,
ownership, subsidiary, alias and/or alter ego and With the authority, consent, approval, control,
influence, and ratification of each of the remaining Defendants sued herein.

6. The claims herein are brought against the United States pursuant to the Federal
Tort Claims Act (28 U.S.C. §2671, et seq.) and 28 U.S.C. §§1346(b)(1), for money damages
as compensation for personal injuries that were caused by the negligent and wrongful acts and
omissions of employees of the United States Government while acting within the scope of their
Offices and employment, under circumstances where the United States, if a private person, would
be liable to the Plaintiffs in accordance With the laws of the State of California

7. The jurisdiction of this Court over the subject matter cf this action is predicated on
28 USC §1339. Venue in this district is based upon the place of injury and Plaintiffs’ residence

II.
FACTS RELEVANT TO ALL CAUSES OF ACTION

8. On August 8, 2017, Plaintiffs RUTH JOYA, PAMELA JOYA and STACEY JOYA
were prudently traveling in a motor vehicle northbound on I-110 at or near 28th Street, in Los
Angeles, California 90007 When their vehicle Was violently rear ended by a UNlTED STATES OF
AMERICA , U.S. Department of Homeland Security vehicle operated by Defendant PAUL
THOMAS.

 

Civil Complnintfor Damages . 2

 

Case

\.DiiJ\O~-~-.`|O\'L.J*l-l>~'..rii\?l1-t

l\-)I\)NN[\)[\J[\JNI\Jr-*l-*v-)-‘l-Hr--)-di-li-i
OO*-IG\Lll-PUNHC\OOO‘~.]O\U!-LUJ[\)*-‘C

 

2:19-cv-01303-RSWL-.]PR Document 1 Filed 02/21/19 Page 3 of 4 Page |D #:3

9. Plaintiffs filed a claim with the United States Secret Service for this incident on or
about July 10, 2018.
III.
CAUSES OF ACTION
First Cause of Action
Negligence
(Plaintrffs RUTH, PAMELA & STACEYJOYA vs. ALL DEFENDANTS)

10. Plaintiffs hereby incorporates by reference paragraphs 1 through 9 as though set
forth fully herein.

11. The collision caused by the recklessness, carelessness and negligence of the
defendants, breached duties owed to Plaintiffs RUTH JOYA, PAMELA JOYA and STACEY
JOYA by:

Count 1 - operating a motor vehicle at a high, dangerous and excessive rate of

speed under the circumstances then and there existing;

Count 2 - failing to reduce speed to avoid a collision;

Count 3 - failing to observe due care and precaution and to maintain proper and
adequate control of the motor vehicle;

Count 4 - failing to keep a proper lookout for vehicles lawfully upon the roadway;

Count 5 - failing to exercise reasonable care in the operation of the motor vehicle
under the circumstances then and there existing;

Count 6 - In other respects not now known to the Plaintiffs but which may become
known prior to or at the time of trial;

12. As a direct and proximate result_of the negligence and carelessness of the

defendants, the Plaintiffs:

(A) Suffered serious, painful and permanent bodily injuries, great physical pain
and mental anguish, severe and substantial emotional distress, loss of the capacity for the
enjoyment of life;

(B) Was, is and will be required to undergo medical treatment and to incur

 

Civi'l Complaintfor Damages

 

Case

\DOO'-~.'|O\Ul~l~\-UJI\J>-l

NNN[\)N[\JI\J[\)[\J)-)-\Hr-\)-~)_l»-li-is-\)-
OO-JO\UI-PUJN*-‘O\DOO‘~JO\MLU)N'_‘O

 

2:19-cv-01303-RSWL-.]PR Document 1 Filed 02/21/19 Page 4 of 4 Page |D #:4

medical costs and expenses in order to alleviate injuries, pain and suffering;

(C) Was, is and will be precluded from engaging in normal activities and
pursuits, including a loss of ability to earn money and of actual earnings;

(D) And, otherwise was hurt, injuries and caused to sustain losses.

13. All of the Plaintiffs’ losses Were, are and will be due solely to and by reason of the
carelessness and negligence of Defendants, without any negligence or want of due care on the
plaintiffs part contributing thereto.

IV.
DEMAND FOR URY TRIAL

14. Plaintiffs hereby demand a jury trial as provided by Rule 38(a) of the Federal Rules
of Civil Procedure

WHEREFORE based on the allegations as set forth above, Plaintiffs RUTH JOYA,
PAMELA JOYA and STACEY JOYA pray that judgment be entered in their favor against
UNI'I`ED STATES OF AMERICA , U.S. Department of Homeland Security, and/or DOES 1-50,
as follows:

1. On each and every cause of action, for general compensatory and special damages,`
in an amount according to proof at trial;

2. On each and every cause of action, for medical and incident damages, in an amount

according to proof at trial;

3. For interest at the legal rate permitted by law;
4. For costs of suit incurred herein; and
5. For all other relief that the court deems just and proper.

. Daie: February 11, 2019 ELLIs/’ CoRPoRATioN
By- ` 0 /

 

' Andrew L. air
Justina G. Rari]é>n)é/

for Plaintiffs RUTH JOYA et al.

 

Civil Complaintfor Damages 4

 

